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               BEFORE THE UNITED STATES JUDICIAL PANEL
                    ON MULTIDISTRICT LITIGATION


                                           )
IN RE: BLUE CROSS BLUE SHIELD              )
ANTITRUST LITIGATION                       )        MDL No.: 2406
                                           )

                              SCHEDULE OF ACTIONS


           Case Captions                  Court         Civil Action        Judge
                                                            No.
Plaintiffs:                           District of      1:13-cv-        J. Frederick
Advanced Surgery Center of            Maryland         00769-JFM       Motz
Bethesda, LLC, et al.

Defendants:
CareFirst of Maryland, Inc.


       Respectfully submitted on this the 13th day of March, 2013.


                                            /s/ Joe R. Whatley, Jr.
                                           Joe R. Whatley, Jr.

                                           One of the Attorneys for Plaintiffs Advanced
                                           Surgery Center of Bethesda, LLC; Bethesda
                                           Chevy Chase Surgery Center, LLC; Deer
                                           Pointe Surgical Center, LLC; Hagerstown
                                           Surgery Center, LLC; Leonardtown Surgery
                                           Center, LLC; Maple Lawn Surgery Center,
                                           LLC; Piccard Surgery Center, LLC; Riva
                                           Road SurgCenter, LLC; SurgCenter of Bel
                                           Air, LLC; SurgCenter of Glen Burnie, LLC;
                                           SurgCenter of Greenbelt, LLC; SurgCenter
                                           at National Harbor, LLC; SurgCenter of
                                           Silver Spring, LLC; SurgCenter of Southern
                                           Maryland, LLC; SurgCenter of Western
                                           Maryland, LLC; SurgCenter of White
                                           Marsh, LLC; Timonium Surgery Center,
                                           LLC; and Westminster Surgery Center, LLC
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